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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


     In re:                                                    Chapter 11

     DYNATA, LLC, et al.,1                                     Case No. 24-11057 (TMH)

                                 Debtors.                      (Jointly Administered)


         NOTICE OF SECOND AMENDED2 AGENDA OF MATTERS SCHEDULED
             FOR VIRTUAL HEARING ON JULY 2, 2024 AT 10:00 A.M. (ET)

              AS NO MATTERS ARE GOING FORWARD, THE HEARING HAS BEEN
                     CANCELLED AT THE DIRECTION OF THE COURT.

RESOLVED MATTER:

1.        Debtors’ Motion for Entry of Interim and Final Order Authorizing the Debtors to (I) File a
          Consolidated List of Creditors in Lieu of Submitting a Separate Mailing Matrix for Each
          Debtor, (II) File a Consolidate List of the Debtors’ Thirty Largest Unsecured Creditors and
          (III) File Under Seal Portions of the Creditor Matrix and Other Filings Containing Personal
          Identification Information [D.I. 10, 5/22/24]

          Related Documents:

          A.       Interim Order Authorizing the Debtors to (I) File a Consolidated List of Creditors
                   in Lieu of Submitting a Separate Mailing Matrix for Each Debtor, (II) File a
                   Consolidate List of the Debtors’ Thirty Largest Unsecured Creditors and (III) File
                   Under Seal Portions of the Creditor Matrix and Other Filings Containing Personal
                   Identification Information [D.I. 75, 5/23/24]

          B.       Omnibus Notice of First Day Motions and Final Hearing [D.I. 90, 5/24/24]

          C.       Certification of Counsel [D.I. 176, 6/28/24]

          D.       Final Order Authorizing the Debtors to (I) File a Consolidated List of Creditors in
                   Lieu of Submitting a Separate Mailing Matrix for Each Debtor, (II) File a

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      The Debtors in these Chapter 11 Cases, along with the last four digits of their federal tax identification numbers,
      to the extent applicable, are Dynata, LLC (8807), New Insight Holdings, Inc. (1844), New Insight Intermediate
      Holdings, Inc. (6495), Dynata Holdings Corp. (0668), Research Now Group, LLC (7588), SSI/Opiniology Interco
      LLC (1855), iPinion, Inc. (9463), Research Now, Inc. (5523), SSI Holdings, LLC (6379), New Insight
      International, Inc. (0453), Imperium LLC (8375), inBrain, LLC (8031), Apps That Pay, LLC (9028), inBrain
      Holdings, LLC (9696), Branded Research, Inc. (9577), Screenlift.io, LLC, Research Now DE I, LLC (5528),
      Research Now DE II, LLC (5613), and Instantly, Inc. (6756). The Debtors’ headquarters is located at 4 Research
      Drive, Suite 300, Shelton, CT 06484.
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      Amendments appear in bold.
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            Consolidate List of the Debtors' Thirty Largest Unsecured Creditors and (III) File
            Under Seal Portions of the Creditor Matrix and Other Filings Containing Personal
            Identification Information [D.I. 177, 6/28/24]

     Response Deadline:    June 13, 2024 at 4:00 p.m. (ET), extended to June 21, 2024 at 4:00
                           p.m. (ET) for the Office of the United States Trustee.

     Responses Received:

     E.     United States Trustee’s Limited Objection [D.I. 146, 6/21/24]

     Status: The order has been entered. No hearing is necessary.

PLAN CONFIRMATION:

2.   Confirmation of Joint Prepackaged Chapter 11 Plan of Reorganization of Dynata, LLC and
     Its Debtor Affiliates

     Related Documents:

     A.     Disclosure Statement Pursuant to Section 1125 of the Bankruptcy Code With
            Respect to Joint Prepackaged Chapter 11 Plan of Reorganization of Dynata, LLC
            and Its Debtor Affiliates [D.I. 17, 5/22/24]

     B.     Joint Prepackaged Chapter 11 Plan of Reorganization of Dynata, LLC and Its
            Debtor Affiliates [D.I. 18, 5/22/24]

     C.     Order (I) Scheduling Combined Hearing on Adequacy of the Disclosure Statement
            and Confirmation of the Plan; (II) Fixing Deadline to Object to Disclosure
            Statement and the Plan; (III) Approving Prepetition Solicitation Procedures and
            Form and Manner of Notice of Commencement, Combined Hearing and Objection
            Deadline; (IV) Approving Notice and Objection Procedures for the Assumption of
            Executory Contracts and Unexpired Leases; (V) Conditionally (A) Directing the
            United States Trustee Not to Convene Section 341(a) Meeting of Creditors and
            (B) Waiving Requirement of Filing Statements of Financial Affairs and Schedules
            of Assets and Liabilities and Rule 2015.3 Reports; and (VI) Granting Related Relief
            [D.I. 82, 5/23/24]

     D.     Notice of (I) Commencement of Chapter 11 Cases Under Chapter 11 of the
            Bankruptcy Code, (II) Combined Hearing to Consider (A) Adequacy of the
            Disclosure Statement and (B) Confirmation of the Plan, (III) Assumption of
            Executory Contracts and Unexpired Leases and (IV) Objection Deadlines – and –
            Summary of the Plan [D.I. 84, 5/23/24]

     E.     Certificate of Publication [D.I. 105, 6/4/24]

     F.     Amended Affidavit of Service of Solicitation Materials [D.I. 152, 6/25/24]

     G.     Amended Affidavit of Service of Solicitation Materials [D.I. 153, 6/25/24]


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H.     Notice of Filing of Plan Supplement to Joint Prepackaged Plan of Reorganization
       of Dynata, LLC and Its Debtor Affiliates [D.I. 145, 6/18/24]

I.     Notice of Filing of Exhibits C, I, and K to Plan Supplement to Joint Prepackaged
       Plan of Reorganization of Dynata, LLC and Its Debtor Affiliates [D.I. 147, 6/22/24]

J.     Notice of Filing of Exhibits D, E, G, and H to Plan Supplement to Joint
       Prepackaged Plan of Reorganization of Dynata, LLC and Its Debtor Affiliates [D.I.
       175, 6/27/24]

K.     Notice of Filing of Blackline of Amended Joint Prepackaged Plan of
       Reorganization of Dynata, LLC and Its Debtor Affiliates [D.I. 178, 6/28/24]

L.     Notice of Proposed Findings of Fact, Conclusions of Law and Order Approving
       and Confirming the Joint Prepackaged Plan of Reorganization of Dynata, LLC and
       Its Debtor Affiliates [D.I. 179, 6/28/24]

M.     Declaration of Tony Simion in Support of an Order (I) Approving the Adequacy of
       the Disclosure Statement and the Prepetition Solicitation Procedures and
       (II) Confirming the Joint Prepackaged Plan of Reorganization of Dynata, LLC and
       Its Debtor Affiliates [D.I. 180, 6/28/24]

N.     Declaration of Craig E. Johnson of Kroll Restructuring Administration LLC
       Regarding the Solicitation of Votes and Tabulation of Ballots Cast on the Joint
       Prepackaged Plan of Reorganization of Dynata, LLC and Its Debtor Affiliates
       [D.I. 186, 6/28/24]

O.     Memorandum of Law (A) in Support of an Order (I) Approving the Adequacy of
       the Disclosure Statement and the Prepetition Solicitation Procedures and
       (II) Confirming the Joint Prepackaged Plan of Reorganization of Dynata, LLC and
       Its Debtor Affiliates [D.I. 183, 6/28/24]

P.     Notice of Filing of Exhibit J to Plan Supplement to the Amended Joint Prepackaged
       Plan of Reorganization of Dynata, LLC and Its Debtor Affiliates [D.I. 187, 6/28/24]

Q.     Notice of Filing of Revised Proposed Findings of Fact, Conclusions of Law and
       Order Approving and Confirming the Amended Joint Prepackaged Plan of
       Reorganization of Dynata, LLC and Its Debtor Affiliates [D.I. 190, 7/1/24]



Response Deadline: June 25, 2024 at 4:00 p.m. (ET), extended to June 26, 2024 at 4:00
                    p.m. (ET) for the Office of the United States Trustee and Branded
                    Research, Inc., and extended to June 28, 2024 at 10:00 a.m. (ET)
                   for the United States of America.




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Responses Received:

R.     Informal Responses:

          i.   Office of the United States Trustee
         ii.   DIP Lenders
       iii.    First Lien Lenders
        iv.    First Lien Agent
         v.    Second Lien Lenders
        vi.    Second Lien Agent
       vii.    United States of America
      viii.    Branded Research, Inc.
        ix.    Revolving Credit Lenders

Status: The Court advised the Debtors’ undersigned counsel that the Court will enter
the confirmation order filed at Docket No. 190. No hearing is necessary.

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Dated: July 2, 2024
       Wilmington, Delaware

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                              LLP

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                              -and-

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                              Co-Counsel to the Debtors
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